             Case 20-03697-dd                 Doc 7        Filed 10/07/20 Entered 10/07/20 12:49:28                                Desc Main
                                                            Document     Page 1 of 4
 Fill in this information to identify the case:

             International Biomedical Devices, Inc.
 Debtor name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the:______________________

                            20-03697-dd                                      7
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                        x Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       License and Technology Transfer                   VALENS ASSOCIATED, INC.
         State what the contract or    Agreement dated December 12,                      c/o Mr. Urs Klingelfuss
 2.1     lease is for and the nature
                                       2013 and subsequent amendments
         of the debtor’s interest
                                                                                         420 Lexington Ave., Suite 2400
                                       Lessee                                            New York, NY, 10170
         State the term remaining
         List the contract number of
                                        The original Term, unless earlier terminated, is from
         any government contract        the Eﬀ
                                             ﬀective Date of the Agreement continuing in
                                        eﬀ
                                         ﬀect until the "last-to-expire" patent within the
         State what the contract or
 2.2     lease is for and the nature
                                        Licensed Patents. The Licensor Valens has given
         of the debtor’s interest       IBMD a Termination Notice, dated Aug. 24, 2020
         State the term remaining       with Termination eﬀ ﬀectiveOct. 23, 2020 unless IBMD
         List the contract number of    cures claimed breaches.
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
           Case 20-03697-dd                  Doc 7       Filed 10/07/20 Entered 10/07/20 12:49:28                             Desc Main
                                                          Document     Page 2 of 4
 Fill in this information to identify the case and this filing:

              International Biomedical Devices, Inc.
 Debtor Name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the: ________________________________

                              20-03697-dd
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    10/06/2020
        Executed on ______________                          /s/ Steven R. Bryant
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Steven R. Bryant
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President & CEO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
 Case 20-03697-dd           Doc 7      Filed 10/07/20 Entered 10/07/20 12:49:28         Desc Main
                                        Document     Page 3 of 4


                               UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA


In re:                                                       Case No. 20-03697-dd

         International Biomedical Devices, Inc.              Chapter 7


Debtor


                                  STATEMENT OF CHANGE

             In accordance with SCLBR the Debtor hereby amends Schedule G to add an exeutory contract

            that was not included on Schedule G.
          This Statement of Change, along with the amended schedule will be served on the
    affected creditor(s).


    Date of Service: October 7, 2020
                                                      Markham Law Firm, LLC

                                                      __/s/ Sean Markham
                                                      Sean Markham, I.D. # 10145
                                                      Attorney for International Biomedical
                                                      Devices, Inc.
                                                      PO Box 20074
                                                      Charleston, SC 29413-0074
                                                      Tel: (843) 284-3646
                                                      Email:




                                                  1
 Case 20-03697-dd          Doc 7     Filed 10/07/20 Entered 10/07/20 12:49:28           Desc Main
                                      Document     Page 4 of 4



                            UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF SOUTH CAROLINA



In re:                                                       Case No. 20-03697-dd

                                                             Chapter 7
         International Biomedical Devices, Inc.,


         Debtor.

  I, Sean Markham, an attorney with the Markham Law Firm, LLC, do hereby certify that a
  copy of the amended Schedule G were mailed to the parties below or on the attached list.



    Date of Service            October 7, 2020
                                                       __/s/Sean Markham
                                                        Sean Markham, SC I.D. # 10145
                                                        Attorney for International Biomedical
                                                        Devices, Inc.
                                                        PO Box 20074
                                                        Charleston, SC 29413-0074
                                                        (843) 284-3646




    VALENS ASSOCIATED, INC.
    c/o Mr. Urs Klingelfuss
    420 Lexington Ave., Suite 2400
    New York, NY 10170




                                                   1
